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Presented to the Court by the foreman of the
Grand Jury in open Court, im the presence of
the Grand Jury and FILED in the US.
DISTRICT COURT at Seatile, Washington.

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"BD M M. McCOOL, Clerk
By Deputy

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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,

 

 

Plaintiff,
Vv.
DOMINGO RAMIREZ RODRIGUEZ,
Defendant.
The Grand Jury charges that:
COUNT 1

@R19-249-BL

INDICTMENT

(Conspiracy to Distribute Heroin)

Beginning at a time unknown and continuing until on or about February 7, 2019,

in King County, within the Western District of Washington, and elsewhere, DOMINGO
RAMIREZ RODRIGUEZ, and others known and unknown, did knowingly and

intentionally conspire to distribute heroin, a substance controlled under Title 21, United

States Code, Section 812, Schedule I.

With respect to DOMINGO RAMIREZ RODRIGUEZ, his conduct as a member

of the conspiracy charged in Count 1, which includes the reasonably foreseeable conduct

of other members of the conspiracy charged in Count 1, involved one kilogram or more

Indictment
United States v. Domingo Ramirez Rodriguez - |

UNITED STATES ATTORNEY
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of a substance containing a detectable amount of heroin, in violation of Title 21, United
States Code, Section 841(b)(1)(A).

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A),

and 846.
COUNT 2
(Possession of Heroin with Intent to Distribute)

On or about February 7, 2019, in King County, within the Western District of
Washington, and elsewhere, the defendant DOMINGO RAMIREZ RODRIGUEZ, _
knowingly and intentionally possessed, and did aid and abet the possession of, with intent
to distribute, heroin, a substance controlled under Title 21, United States Code, Section
812, Schedule I.

The Grand Jury further alleges that the offense involved one kilogram or more of a
mixture or substance containing a detectable amount of heroin.

The Grand Jury further alleges that this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above.

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A),
and Title 18, United States Code, Section 2.

COUNT 3
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

On or about February 7, 2019, in King County, within the Western District of
Washington, and elsewhere, DOMINGO RAMIREZ RODRIGUEZ did possess, and did
aid and abet the possession of, a firearm, to wit: one Ruger 9E 9 mm handgun, serial
number 337-42738, in furtherance of a drug trafficking crime, to wit: Conspiracy to
Distribute Controlled Substances, as charged in Count 1 above, and Possession of Heroin
with Intent to Distribute, as charged in Count 2 above.

All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i) and 2.

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Indictment UNITED STATES ATTORNEY
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United States v. Domingo Ramirez Rodriguez - 2
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ASSET FORFEITURE ALLEGATION

The allegations contained in Counts 1-3 of this Indictment are hereby realleged

and incorporated by reference for the purpose of alleging forfeiture.
Counts 1-2

Pursuant to Title 21, United States Code, Section 853(a), upon conviction of either
of the offenses alleged in Counts 1-2 of this Indictment, the defendant, DOMINGO
RAMIREZ RODRIGUEZ, shall forfeit to the United States any property constituting, or
derived from, any proceeds the defendant obtained, directly or indirectly, as the result of
that offense, and also shall forfeit any of the defendant’s property used, or intended to be
used, in any manner or part, to commit, or to facilitate the commission of, that offense,
including but not limited to a judgment for a sum of money representing the property
described in this paragraph.

Count 3

Pursuant to Title 18, United States Code, Section 924(d)(1) and Title 28, United
States Code, Section 2461(c), upon conviction of the offense alleged in Count 3 of this
Indictment, the defendant, DOMINGO RAMIREZ RODRIGUEZ, shall forfeit to the
United States any firearms and ammunition involved or used in any knowing violation of
Title 18, United States Code, Section 924.

Substitute Assets

If any of the above-described forfeitable property, as a result of any act or
omission of the defendant,

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
e, has been commingled with other property which cannot be divided without
difficulty;
Indictment UNITED STATES ATTORNEY

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property.

it is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p) and Title 28, United States Code, Section 2461(c), to seek the forfeiture of any
other property of the defendant, up to the value of the above-described forfeitable

A TRUE BILL:

DATED: 4 Pecemboen 9014

Signature of the Foreperson redacted
pursuant to the policy of the Judicial
Conference of the United States

 

FOREPERSON

 

ited States Attorney

Ld.

VINCENT T. LOMBARD{
Assistant United States Attorney

/
He IN T. MORAN
jUn

   

 

 

NICHOLAS MANHEIM
Assistant United States Attorney

 

 

Indictment
United States v. Domingo Ramirez Rodriguez - 4

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